Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 1 of 42




              EXHIBIT A
                          Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 2 of 42 County Superior Court
                                                                                   Fulton
                                                                                                                                   ***EFILED***LW
                                                                                                                            Date: 4/9/2021 4:05 PM
                                                                                                                          Cathelene Robinson, Clerk
                                  General Civil and Domestic Relations Case Filing Information Form

                                     N Superior or D State Court of                  Ely?”                 County

          For Clerk Use Only

          Date Filed
                                   4/9/2021                               Case Number         2021CV348070
                                    MM-DD-YYYY

Plaintiff(s)                                                                  Defendant(s)
 35! $6                  Zé/mw’                                               7/75    Cwm/(Eficm/ WESMUMNE,                           We,
Last                    First            Middle   I.   sufﬁx     preﬁx        Last            rim           Middle I.     Sufﬁx    6mm

Last                    First            Middle   I.   Sufﬁx     Prefix       Last            First         Middle   I.   Suffix   Prefix


Last                    First            Middle   I.   Suffix    Preﬁx        Last            First         Middle   I.   Suffix   Prefix


Last                    First            Middle   I.   Sufﬁx     Preﬁx        Last            First   ‘     Middle   I.   Sufﬁx    Preﬁx

Plaintiff’s Attorney               X/ﬂ    T “ﬂu/19%                        State Bar Number           7é3q 7?        Self-Represented D

                                Check one case type and one sub-type in the same box (if a sub-type applies):

         General Civil Cases
                                                                                     Domestic Relations Cases
                          Automobile Tort
        BUD




                          Civil Appeal
                                                                                     D       Adoption
                                                                                     D       Contempt
                          Contempt/Modification/Other
                                                                                             D Non-payment of child support,
                          Post-Judgment
                                                                                             medical support, or alimony
                          Contract
        UDDDUDDDDUD




                                                                                     U




                          Garnishment                                                        Dissolution/Divorce/Separate
                          General Tort                                                       Maintenance/Alimony
                                                                                             Family Violence Petition
                                                                                     DU




                          Habeas Corpus
                                                                                             Modification
                          Injunction/Mandamus/Other Writ
                                                                                             D Custody/Parenting Time/Visitation
                          Landlord/Tenant
                          Medical Malpractice Tort                                           Paternity/Legitimation
                                                                                     UDUU




                          Product Liability Tort                                             Support — lV-D
                          Real Property                                                      Support — Private (non-lV-D)
                                                                                             Other Domestic Relations
                          Restraining Petition
                          Other General Civil

D         Check if the action is related to another action pending or previously pending in this court involving some or all of
          the same: parties, subject matter, or factual issues. If so, provide a case number for each.


                           Case Number                                     Case Number

                                                                                                                           for
           |
            hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements
           redaction of personal  or confidential information  in OCGA  § 9-11-7.1.

           Is a       foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                                       Language(s) Required

D          Do you or your client need any disability accommodations? If so, please describe the accommodation request.


                                                                                                                                     Version 1.1.20
                     Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 3 of 42




                                                                                                                        SBR / ALL
                                                                                                     Transmittal Number: 23043710
Notice of Service of Process                                                                            Date Processed: 04/12/2021

Primary Contact:           Scarlett May
                           The Cheesecake Factory Incorporated
                           26901 Malibu Hills Rd
                           Calabasas Hills, CA 91301-5354

Electronic copy provided to:                   Kurt Leisure
                                               Kristen Acaya
                                               Joel Shafer
                                               Sidney Greathouse

Entity:                                       The Cheesecake Factory Restaurants, Inc.
                                              Entity ID Number 1595404
Entity Served:                                The Cheesecake Factory Restaurants, Inc.
Title of Action:                              Brittany Beavers vs. The Cheesecake Factory Restaurants, Inc
Matter Name/ID:                               Brittany Beavers vs. The Cheesecake Factory Restaurants, Inc (11134516)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Fulton County Superior Court, GA
Case/Reference No:                            2021 CV348070
Jurisdiction Served:                          Georgia
Date Served on CSC:                           04/12/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Rita Tucker Williams
                                              404-370-3783

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
         Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 4 of 42
                                                                                                                                  Fulton County Superior Court
                                                                                                                                              ***EFILED***LW
                                                                                                                                       Date: 4/9/2021 4:05 PM
                                                                                                                                    Cathelene Robinson, Clerk




              IN THE SUPERIOR COURT OF FULTON COUNTY, GEORGIA
                                 136 PRYOR STREET, ROOM C-103, ATLANTA, GEORGIA 30303
                                                                    SUMMONS
     BRITTANY BEAVERS                                                              ) Case           2021CV348070
                                                                                   ) No.:


                                  Plaintiff,
            vs.
     THE CHEESECAKE FACTORY
  ~ RESTAURANTS, INC.
                                 Defendant




TO THE ABOVE NAMED DEFENDANT(S):

You are hereby sunirnoned and required to file electronically with the Clerk of said Court at
https://efilega.tylerhost.net/ofsweb (unless you are exempt from filing electronically) and serve upon
plaintiff's attorney, whose name and address is:
                         Rita Tucker Williams                                Bar # 763978
                         220 Church Street
                         Decatur, GA 30030                                   404-370-3783

An answer to the complaint which is herewith served upon you, within 30 days after service of this
summons upon you, exclusive of the day of service; unless proof of service of this complaint is not ftled
within five (5) business days of such service. Then time to answer shall not commence until such proof of
service has been filed. IF YOU FAIL TO DO SO, JUDGMENT BY DEFAULT WILL BE TAKEN
AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPY.AINT.
          4/9/2021
This                                day of                   , 20

                                                                                   Honorable Cathelene "Tina" Robinson
                                                                                   Clerk ~St~~uperior Cou*1-

                                                                                   By       ~'~ ~~l f Depu}' ~ rk


To defendant upon whom this petition is served:
This copy of complaint and summons was served upon you                                                                       20

                                                                                                           Deputy Sherriff
Instructions: Attach addendum shcet for additional parties (f nceded, makc notation an this sheet if addendum is used
        Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 5 of 42
                                                                        Fulton County Superior Court
                                                                                    "*"EFILED***LW
                                                                             Date: 4/9/2021 4:05 PM
                                                                          Cathelene Robinson, Clerk

              IN THE SUPERIOR COURT OF FULTON COUNTY
                         STATE OF GEORGIA

BRITTANY BEAVERS,                             *
                                              *
        Plaintiff,                            *
                                              *
vs.                                           *     CIVIL ACTION
                                              *     FILE NO.: 2021 CV348070
THE CHEESECAKE FACTORY                        *
RESTAURANTS, INC.,                            *
                                              *
        Defendant.                            *
                     PLAINTIFF'S COMPLAINT FOR DAMAGES

        COMES NOW the BRITTANY BEAVERS, in the above-styled action, by

and through her attorney of record, and files this Complaint for Damages against

Defendant, THE CHEESECAKE FACTORY RESTAURANTS, INC., and shows

the Court as follows:

                                     PARTIES

                                         1.

        Brittany Beavers, (called "Plaintiff Beavers") is a resident of the State of

Georgia and has been a resident of the State of Georgia at all times relevant to this

case.

                                         2.

        The Cheesecake Factory Restaurants, Inc., (called "Defendant Cheesecake

Factory"), is a foreign corporation existing under the laws of California with its
                                          1
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t   '




        principal place of business at 26901 Malibu Hills Road, Calabasas Hills, California

        91301 and may be served through its registered agent Corporation Service

        Company, 2 Sun Court, Suite 400, Peachtree Corners, Gwinnett County, Georgia

        30092.

                                  JURISDICTION AND VENUE

                                                   3.

              The Defendant is subject to the jurisdiction of this Court, and venue is

        proper in FULTON County.

                                                   4.

              The Superior Court of Fulton County has jurisdiction over the subject matter

        of this action.

                                          BACKGROUND

                                                   5.

               Plaintiff re-alleges and incorporates herein the allegations contained in

        paragraphs lthrough 4 above as if fully restated.

                                                   6.

               Plaintiff brings this' action and sues for the following:

               a. Special damages for all medicals and other necessary expenses incurred

                  by Plaintiff due to her injuries, on or about April 17, 2019, all of which




                                                    2
      Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 7 of 42




         were proximately caused by the acts and omission of the Defendant as set

         forth herein.

      b. Compensatory damages for the conscious pain and suffering and severe

         emotional distress which resulted from the occurrence made from the basis

         of this lawsuit, and which were proximately caused by the acts and

         omissions of the Defendant as set forth herein; and

      c. General damages for the overall diminution in the quality and value of

         Plaintiff's life, proximately caused by the acts and omission of Defendant

         as set forth herein.

                                      FACTS

                                         7.

      Plaintiff re-alleges and incorporates herein the allegations contained in

paragraphs lthrough 6 above as if fully restated.

                                         ~-I]

      On April 17, 2019, Plaintiff, Brittany Beavers was an "invitee" at The

Cheesecake Factory located at 4400 Ashford Dunwoody Road (Perimeter Mall),

Atlanta, Georgia. Pursuant to O.C.G.A. § 51-3-1, Under Georgia law, these people

are known as "invitees ", premises owner owe an "invitee " a duty of "ordinary care

to keep the premises and approaches safe. "




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                                           9.

      On April 17, 2019, at approximately 7:45 p.m., Plaintiff Beavers was a

delivery contractor for Postmates, awaiting pickup of a delivery order at The

Cheesecake Factory (Perimeter Mall).

                                          10.

      Postmates is an American quick-commerce and food delivery service owned

by Uber that offers local delivery of restaurant-prepared meals and other goods.

                                          11.

      On this same day, Plaintiff Beavers went inside the Defendant Cheesecake

Factory to use the ladies' restroom. Unbeknownst to Plaintiff Beavers upon entering

the restroom, a lot of water was on the floor - where she slipped and fell causing

severe injuries and immediate pain to her neck and low back. Plaintiff Beavers

reported that her feet went out from under her and that she struck her head on the

floor. Plaintiff did not see the slippery nature of thefloor, prior to her fall.

                                          12.

      Plaintiff Beavers reported that the entire floor of the restroom was soaking

wet due to a leak. There were no signs, cones, or any other kind of warnings to alert

customers of a hazardous condition.




                                           4
       Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 9 of 42




                                            13.

       The Defendant had exclusive ownership, possession, and control over the

entire restaurant at all times relevant to this litigation.

                                            14.

       As a result of Defendant's negligence, Plaintiff Beavers suffered immediate

pain and serious bodily injuries.

                                  COUNT ONE
                               PREMISES LIABILITY

                                            15.

       Plaintiff re-alleges and incorporates herein the allegations contained in

paragraphs 1 through 14 above as if fully restated.

                                            16.

       The Cheesecake Factory's liability has been established in the subject incident

pursuant to O.C.G.A.§51-3-1 which states:

       "Where an owner or occupier of land, by express or implied invitation,

includes or leads others to come upon his premises for any lawful purposes, he is

liable in damages to such persons for injuries caused by his failure to exercise

ordinary care in keeping the premises and approaches safe. "

                                            17.

       Plaintiff was an invitee of the Cheesecake Factory Restaurants, located at

4400 Ashford Dunwoody Road (Perimeter Mall), Atlanta, Georgia 30346.
                                             5
        Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 10 of 42




                                          18.

        Therefore, pursuant to O.C.G.A.§ 51-3-1, The Cheesecake Factory owed the

invitee a duty to exercise reasonable care in keeping the premises and approaches

safe.

                                          19.

        The Cheesecake Factory breached this duty in the following ways:

        a. In failing to clean/remove any liquid substance from the floors that may

           cause harm to its invitees.

        b. In failing to warn invitees of the known potential hazard conditions on the

           floor.

        c. In failing to place hazardous cones in a visible location as to warn invitees

           of possible dangerous areas; and

        d. The Cheesecake Factory should have known of the leak in the restroom

           area.

                                           20.

        At all times, Plaintiff was exercising reasonable care and caution for her own

safety.




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                                         21.

      Had Defendants, through its agents and employees, been exercising

reasonable care, the floor in the ladies' restroom would have been clean and invitees

such as the Plaintiff could have avoided the incident that occurred on Apri117, 2019.

                                         22.

      In failing to do so, the business breached its duty to Plaintiff, an invitee, and

consequently caused her injuries.

                                    COUNT TWO
                                     DAMAGES

                                         23.

      Plaintiff re-alleges and incorporates herein the allegations contained in

paragraphs 1 through 22 above as if fully restated.

                                         24.

      As a result of Defendant's negligence, Plaintiff Beavers suffered serious

injuries. On April 22, 2019, Plaintiff Beavers presented to Prime Integrative

Healthcare (Atlanta, GA), with chief complaints of neck pain, low back pain and

right hip pain. Plaintiff Beavers was examined by Dr. Salih Baaith, who diagnosed

her with the following:


      M46.40              Lumbar Discitis (inflammation that develops between the
                          intervertebral discs of the spine)

      S33.2XX             Subluxation of Coccyx
                                           ~
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      M54.14               Radiculopathy, Thoracic Region
      M99.02               Thoracic Segmental Dysfunction

                                          25.

      Dr. Baaith conducted range of motion studies of Plaintiff Beavers' cervical

and lumbar spine, which revealed severe restriction of movement with pain.

Paraspinal studies of these areas revealed moderate to severe hypertonicity with

myospasm. Plaintiff BeaveNs also complained of headaches, bilateral shoulder

pain, left leg pain and sciatica.

                                          26.

       Plaintiff Beavers' complaint of headache could be the result of a post-

traumatic brain injury. Plaintiff Beavers reported that her head struck the floor at

the time of the slip and fall. The impact triggered a severe jolt, causing the brain to

slide back and forth against the inner walls of the skull. The effects of this trauma

can result in loss of inemory and concentration, loss of coordination, changes in

disposition, sensitivity to light, and additional physical and cognitive impairments.

                                          27.

       As a direct result of this incident, Plaintiff Beavers incurred the following

expenses:




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      Prime Integrative Healthcare                          $8,280.00

      Special Damages                                       $8,280.00

      Aggravated Circumstances                              $20,000.00
      Pain and Suffering: Past, Present and Future          $20,000.00
      Compensatory Damages                                  $40,000.00

      Loss Wages (3 months)                                 $ 4,500.00

      TOTAL DAMAGES                                         $52,780.00

                  AGGRAVATION OF PREVIOUS INJURIES

      Plaintiff Brittany Beavers had a history of ongoing back and neck pain. These

conditions have been aggravated by this incident and have caused her a great deal

of pain and suffering.

      The law states that where a condition or bodily defect is increased or

aggravated, the party whose negligence caused the injury is liable for the full and

final effect, the net result of such injury. In other words, a party whose negligence

causes physical injury to another cannot urge that the event would not have caused

any serious injury to a normally healthy person or that the only reason that the injured

person is suffering such disability or pains is that he was already suffering from a

pre-existing condition or bodily defect.




                                           pi
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                               COUNT THREE
                             PUNITIVE DAMAGES

                                        28.

      Plaintiff re-alleges and incorporates herein the allegations contained in

paragraphs 1 through 27 above as if fully restated.

                                        29.

       Defendant demonstrated a conscious indifference to the consequences of its

actions when it continually failed to warn invitees of wet floor in the ladies'

restroom. Defendant demonstrated un unwillingness to keep the premises safe for

invitees.

                                        30.

       Defendant showed willfulness, extreme recklessness, total disregard, and a

conscious indifference to the safety and wellbeing of others, including but not

limited to, the Plaintiff.

                                        31.

       Defendant's behavior was so egregious that it constituted reckless conduct

and a want of care for the consequences of its actions. Defendant is therefore liable

for an award of punitive damages.




                                         10
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                           COUNT FOUR
               NEGLIGENT TRAINING and/or SUPERVISION

                                         32.
      Plaintiff re-alleges and incorporates herein the allegations contained in

paragraphs 1 through 31 above as if fully restated.

                                         33.
      Defendant was negligent in failing to adopt appropriate policies and

procedures to make sure that appropriate inspections, maintenance were performed

on the leak in the ladies' restroom and in failing to train its employees concerning

safety procedures for water leaks.

                                         34.

      Defendant was negligent in training and supervising its staff to properly

maintain clean and hazard free-floors through-out its restaurant, including the ladies'

restroom, located at 4400 Ashford Dunwoody Road (Perimeter Mall), Atlanta,

Georgia 30342.

                                         35.
      As a result of Defendant's negligence in training and supervising its

employees, Plaintiff was permanently injured on the subject premises.

       WH-EREFORE, plaintiff prays that she have a trial on all issues and judgment

against defendant as follows:



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      a. That Plaintiff recovers special damages, including, but not limited to, the

         full value of past and future medical expenses in an amount to be proven

         at trial.

      b. That Plaintiff recovers for mental and physical pain and suffering and

         emotional distress in an amount to be determined by the enlightened

         conscience of the jury.

      c. That Plaintiff recovers punitive or exemplary damages against Defendant

         for its conscious indifference to the consequences of its actions.

      d. That Plaintiff recovers such other and further relief as is just and proper;

         and

      e. That all issues be tried before a jury.

      This 9th day of Apri12021.

                                        WILLIAMS & ASSOCIATES
                                        LAW FIRM, P. C.

                                        /s/ Rita Tucker Williams
                                        Rita T. Williams
                                        State Bar No. 763978
                                        Ledia L. Regis
                                        State Bar No. 750281
                                        Attorneysfor Plaintiff
220 Church Street
Decatur, GA 30030
(404) 370-3783
E: YtwilliamsL
             a)tivilliamsandassoc.com
E: lregis@l-villiamsandassoc. com



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                                                                       Fulton County Superior Court
                                                                                   ''''*EFILED*""'LW
                                                                            Date: 4/9/2021 4:05 PM
                                                                         Cathelene Robinson, Clerk

            IN THE SUPERIOR COURT OF FULTON COUNTY
                       STATE OF GEORGIA

BRITTANY BEAVERS,                            *
                                             *
      Plaintiff,                             *
                                             *
vs.                                          *     CIVIL ACTION
                                             *     FILE NO.: 2021 CV348070
THE CHEESECAKE FACTORY                       *
RESTAURANTS, INC.,                           *
                                             *
      Defendant.                             *

                   PLAINTIFF'S FIRST SET OF
               INTERROGATORIES TO DEFENDANT
          THE CHEESECAKE FACTORY RESTAURANTS, INC.

      You are required, pursuant to O.C.G.A. § 9-11-26 and O.C.G.A. § 9-11-33,

to fully answer the following interrogatories separately and fully, in writing and

under oath within 45 days of the service of this pleading. You are required by

O.C.G.A. § 9-11-26 and O.C.G.A. § 9-11-33 to answer the interrogatories by

furnishing all discoverable information available to you, which includes

information which you have the power to secure and information which is within

the knowledge of you or your attorney.

      All the following interrogatories shall be deemed continuing in nature until

the date of trial to the extent permitted by O.C.G.A. § 9-11-26 and O.C.G.A. § 9-

11-33, and you are required to serve supplemental answers to the extent required

                                         1
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thereby if you or your attorneys obtain additional information between the time the

answers are served and the time of trial. Copies of such supplemental answers shall

be served on the undersigned within thirty (30) days from the discovery of such

additional information, but not later than the time of trial.

                                   DEFINITIONS

      The following definitions are applicable to each of the following

Interrogatories unless negated by context:

      The term "Documents" shall mean the original and any copies regardless of

origin or location, or of any written, recorded, or graphic matter in whatever form,

including copies, drafts, and reproduction thereof to which you have or have had

access.

      The word "Person" shall include any natural human being, association, firm,

partnership, corporation, estate, or other legal entity.

      The term "Communication" shall mean the transmittal of information from

one or more persons to another person or persons, whether the medium for such

transmittal be oral, written, telephonic or electronic recording, etc.

      The word "Identify" with respect to any person, as defined above, or witness

means to provide the following information: (a) full and correct legal name; (b)

recent address and phone number; (c) the place of employment and phone number.

      The word "Identify" with respect to any document means to provide the


                                            N
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following information: (a) the title of other means of identification of such

document; (b) date that each document was prepared; (c) the name, address and

telephone number of the person (s) who prepared the document; (d) the name,

address and telephone number of the person (s) currently in control of each

document; (e) a description of the contents and subject matter of the document.

      When used in these Interrogatories, the term "Incident/Collision" specifically

refers to the collision which is described in the attached Complaint.

                              INTERROGATORIES

                                         1.

      State the name, address, telephone number and relationship to you of each

person who prepared or assisted in the preparation of the responses to these

interrogatories.

                                         2.

      State whether you have a copy of any statement which the Plaintiff,

Defendant, witnesses, or any other individuals have previously made concerning this

action or its subject matter and which is in your possession, custody, or control. If

so, as to each such statement and as to each such individual, state the name of the

individual taking the statement, the date of the statement, the form of the statement

and the verbatim content of the stateinent, or alternatively attach a copy thereof to

your answer to Interrogatories.


                                          3
      Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 20 of 42




                                        3.

      Identify all persons by name, address and phone involved in responding to

these interrogatories.

                                        4.

      Please identify by name, address, and phone number of the contractor and/or

sub-contractors and/or employees who is responsible for cleaning and maintaining

the ladies' restrooms within the Cheesecake Factory Restaurant at 4400 Ashford

Dunwoody Road (Perimeter Mall), Atlanta, GA 30346.

                                        5.

      Please state what are the policies and procedures regarding the cleaning and

maintaining the ladies' restrooms within the Cheesecake Factory Restaurant at 4400

Ashford Dunwoody Road (Perimeter Mall), Atlanta, GA 30346.

                                        6.

      List all workers/employees who cleaned ladies restroom of the date of

incident.

                                        7.

      Please identify by name, address, phone number and policy number of the

insurance carrier which insures Defendant Cheesecake Factory (Perimeter Mall),

4400 Ashford Dunwoody Road, Atlanta, GA 30346.




                                        4
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                                          8.

      Please identify by name, address, phone number, and j ob title of each

employee of Defendant who completed an incident report on the date of loss.

                                          ZIA
       Please identify and describe in detail all documents you or your counsel has

submitted to your carrier regarding this date of loss (April 17, 2019).

                                         10.

       Please identify all employees by name, address, phone number and job title of

Defendant Cheesecake Factory Rest who has first-hand knowledge of the leaks in

the ladies' restroom on the date of loss (April 17, 2019).

                                         11.

       Please identify all employees of Defendant Cheesecake Factory Restaurant by

name, address, phone number, and job title who arrived at the scene on the date of

Plaintiff's injury.

                                         12.

       Have you or anyone acting on your behalf interviewed any iridividual

concerning the incident which is the subject of this litigation:

       a. The name, address and phone number of the individual interviewed; and

       b. The name, address and phone number of the person who conducted the

          interview.


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                                            13.

         Do you or anyone acting on your behalf know of any photographs, films or

videotapes depicting the wet floor and/or leaks inside the ladies' restroom and/or

incident which is the subject of this litigation:

         a. The place, objects or persons photographed, filmed, or videotaped.

         b. The date the photographs, films or videotapes were taken.

         c. The name, address and telephone number of the individual taking the

            photographs, films, or videotapes; and

         d. The name, address and telephone number of each person who has the

            original or a copy.

                                            14.

         Please state the facts Defendant relies upon to deny all or any liability in this

claim.

                                            15.

         State the full name and anticipated testimony of all witnesses, including expert

witnesses, which you reasonably anticipate may be called as witnesses. (NOTE:

This Interrogatory is intended to identify all person whom you reasonably anticipate




                                             6
      Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 23 of 42




may be called as witnesses at trial even though your attorneys have not made a final

determination as to what witnesses will be called.)

      This 9th day of Apri12021.

                                             WILLIAMS & ASSOCIATES
                                             LAW FIRM, P.C.

                                             /s/Rita T. Williams
                                             Rita T. Williams
                                             GA State Bar No. 763978
                                             Ledia L. Regis
                                             GA State Bar No. 750281
                                             Attorneysfor Plaintiffs

220 Church Street
Decatur, GA 30030
(404) 370-3783
Email: itwilliams(a~williamsandassoc.com
Email: lregis a,williamsandassoc.com
      Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 24 of 42
                                                                        Fulton County Superior Court
                                                                                    "**EFILED**"LW
                                                                             Date: 4/9/2021 4:05 PM
                                                                          Cathelene Robinson, Clerk

            IN THE SUPERIOR COURT OF FULTON COUNTY
                       STATE OF GEORGIA

BRITTANY BEAVERS,                             *
                                              *
      Plaintiff,                              es
                                              *
vs.                                           *     CIVIL ACTION
                                              *     FILE NO.: 2021 CV348070
THE CHEESECAKE FACTORY                        *
RESTAURANTS, INC.,                            *
                                              *
      Defendant.                              *

PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
TO DEFENDANT THE CHEESECAKE FACTORY RESTAURANTS, INC.

      You are required, pursuant to O.C.G.A. § 9-11-26 and O.C.G.A. § 9-11-33,

to fully answer the following request for documents separately and fully, in writing

and under oath within 30 days of the service of this pleading. You are required by

O.C.G.A. § 9-11-26 and O.C.G.A. § 9-11-33 to answer the request for documents

by furnishing all discoverable information available to you, which includes

information which you have the power to secure and information which is within

the knowledge of you or your attorney.

      All the following requests for documents shall be deemed continuing in

nature until the date of trial to the extent permitted by O.C.G.A. § 9-11-26 and

O.C.G.A. § 9-11-33, and you are required to serve supplemental answers to the


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extent required thereby if you or your attorneys obtain additional information

between the time the answers are served and the time of trial. Copies of such

supplemental answers shall be served on the undersigned within thirty (30) days

from the discovery of such additional information, but not later than the time of

trial.

                                    DEFINITIONS

         The following definitions are applicable to each of the following Requests for

Documents unless negated by context:

         The term "Documents" shall mean the original and any copies regardless of

origin or location, or of any written, recorded, or graphic matter in whatever form,

including copies, drafts, and reproduction thereof to which you have or have had

access.

         The word "Person" shall include any natural human being, association, firm,

partnership, corporation, estate, or other legal entity.

         The term "Communication" shall mean the transmittal of information from

one or more persons to another person or persons, whether the medium for such

transmittal be oral, written, telephonic or electronic recording, etc.

         The word "Identify" with respect to any person, as defined above, or witness

means to provide the following information: (a) full and correct legal name; (b)

recent address and phone number; (c) the place of employment and phone number.


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      When used in these Requests, the term "Incident/Collision" specifically refers

to the collision which is described in the attached Complaint.

                                     REQUESTS

                                          1.

      Please produce any and all incident reports, witness statements, investigation

reports or other statements from witnesses or any persons claiming to have

knowledge concerning the incident which is the subject matter of this action.

                                          ri

      Please produce any and all maps, pictures, photographs, building plans, floor

plans, layouts, or building specifications of the incident site in question that is the

subject matter of this action.

                                          3.

      Please produce any all photographs, films, videotapes depicting any place,

object or individual concerning the incident or Plaintiff's injuries.

                                          4.

      Please produce any all photographs, films, videotapes depicting the wet floor

and leaks in the ladies' restroom.




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                                            5.

      Please produce any and all shifts' logs and schedules for all employees

scheduled to work on the day of the incident, 24 hours before the incident, and 24

hours after the incident at issue in this case.

                                            6.

      Please produce any and all incident reports, witness statements, investigation

reports or other statements from witnesses or any persons claiming to have

knowledge concerning incidents involving any and all water leaks of any kind within

the past five (5) years at the subject location of the incident at issue in this matter.

                                            7.

      Please produce a declaration page or the complete policy of insurance for all

policies of insurance, which cover, or which may cover any of the claims asserted

by Plaintiff in this lawsuit.      This request seeks production of the described

information for each policy of insurance identified in response to the interrogatories

filed and served simultaneously herewith.

                                            8.

      Please produce all written or recorded statements, incident/accident reports,

drafts, notes, calculations, memos, handwritten notes, and all other documents or

tangible items produced by every expert retained by you whom you anticipate you

may call to testi , as an expert witness at the trial of this case.


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                                           9.

      Please produce all documents, tangible items, and/or exhibits you plan to

introduce into evidence at the trial of this case.

                                          10.

      Please produce all diagrams, sketches, videos, photos, surveillance cameras,

or other tangible items, which are relevant to or relate to the subject incident or any

defenses you have raised regarding the subject incident.

                                           11.

      Please produce any and all medical records and medical bills of Plaintiff

Brittany Beavers in your possession.

                                           12.

      Please provide a copy of any and all medical records and medical bills of

Plaintiff Brittany Beavers you received through "Request for Production of

Documents from any Non-Party Requests."

                                           13.

      Please produce a true copy of all documents providing the written notification

of water leaks issues and/or leaks in the last five years to present.

                                           14.

      Please produce all repairs to plumbing and by whom and receipts from

January 2018 through the present.


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                                        15.

       Please produce a list of all employees who worked at the listed Cheesecake

Factory Restaurant from April 2016 through the present.                 List by title and

responsibilities.

                                        16.

       Please produce medical records of Plaintiff Beavers from 5 years before the

fall to the present.



       This 9th day of April 2021.

                                              WILLIAMS & ASSOCIATES
                                              LAW FIRM, P.C.

                                              /s/Rita T. Williams
                                              Rita T. Williams
                                              GA State Bar No. 763978
                                              Ledia L. Regis
                                              GA State Bar No. 750281
                                              Attorneysfor Plaintiffs

220 Church Street
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Email: lregis cr,wi.11iainsandassoc.com




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       Case 1:21-cv-02000-AT Document 1-1 Filed 05/11/21 Page 30 Fulton
                                                                 of 42 County Superior Court
                                                                                    ***EFILED***TB
                                                                           Date: 5/11/2021 9:32 AM
                                                                          Cathelene Robinson, Clerk

            IN THE SUPERIOR COURT OF FULTON COUNTY
                        STATE OF GEORGIA

BRITTANY BEAVERS,      )
                       )
                       )
        Plaintiff,     )
                       )
v.                     )                     CIVIL ACTION FILE NO.
                       )
                       )                     2021CV348070
THE CHEESECAKE FACTORY )
RESTAURANTS, INC.      )
                       )
        Defendants     )
                       )


   ANSWER AND AFFIRMATIVE DEFENSES OF THE CHEESECAKE
        FACTORY RESTRAUANTS, INC. TO PLAINTIFF’S
                COMPLAINT FOR DAMAGES

      COMES NOW Defendant The Cheesecake Factory Restaurants, Inc. (“TCF”

or “this Defendant”) and files this, its Answer to Plaintiff’s Complaint for Damages

(“Complaint”):

                                FIRST DEFENSE

      Plaintiff’s Complaint and each count thereof fails to state a claim upon which

relief can be granted against TCF.

                              SECOND DEFENSE

      Plaintiff’s injuries, if any, were caused solely and proximately by the acts or

omissions of third persons. Such acts and omissions themselves constitute the sole
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proximate cause of Plaintiff’s injuries and further served to break the chain of

causation between plaintiff’s injuries and any negligence claims in his Complaint.

TCF specifically denies that it has been guilty of any negligence whatsoever with

respect to Plaintiff.

                                THIRD DEFENSE

       TCF breached no duty owed to Plaintiff under the circumstances.

                               FOURTH DEFENSE

       Plaintiff, by the exercise of ordinary care, could have avoided any injury

allegedly sustained, and, on account thereof, Plaintiff is not entitled to recover any

sum from TCF.

                                FIFTH DEFENSE

       To the extent Plaintiff has been compensated for the alleged damages by

receiving payment from other persons or entities, the amount of any compensation

should be set-off against any recovery Plaintiff may receive in this action.

                                SIXTH DEFENSE

       Plaintiff cannot recover against TCF because Plaintiff has been contributorily

negligent.

                              SEVENTH DEFENSE

       Defendant asserts the defense of comparative negligence.




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                                EIGHTH DEFENSE

       Plaintiff cannot recover against TCF because Plaintiff has failed to mitigate

her damages.

                                 NINTH DEFENSE

       Plaintiff cannot recover against TCF because Plaintiff assumed the risk of her

injuries.

                                 TENTH DEFENSE

       Plaintiff cannot recover against TCF because Plaintiff previously traversed

the hazard alleged.

                              ELEVENTH DEFENSE

       Plaintiff’s lawsuit is barred by the applicable statute of limitations.

                               TWELFTH DEFENSE

       Venue is improper in Fulton County, Georgia.

                             THIRTEENTH DEFENSE

       Plaintiff cannot recover because Plaintiff possessed the last clear chance to

avoid her injuries.

                            FOURTEENTH DEFENSE

       To the extent as may be shown applicable by the evidence through discovery,

TCF asserts the affirmative defenses of insufficient service of process, insufficient

process, assumption of the risk, contributory/comparative negligence, failure of


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Plaintiff to exercise ordinary care for his own safety, failure of Plaintiff to avoid

consequences, last clear chance, failure of Plaintiff to mitigate damages,

insufficiency of service of process, and insufficiency of service.

                             FIFTEENTH DEFENSE

      Plaintiff’s Complaint fails to state a claim for punitive damages. Even if

Plaintiff’s Complaint states a claim for punitive damages, such damages are capped

at $250,000.

                             SIXTEENTH DEFENSE

      The imposition of punitive damages against this Defendant would violate its

under the Due Process Clauses of the Fourteenth Amendment to the United States

Constitution and the Georgia Constitution.

                           SEVENTEENTH DEFENSE

      The statutes of the State of Georgia that authorize the imposition of punitive

damages are contrary, by their express terms and as applied to defendants in this

lawsuit, to the United States and Georgia Constitutions, and the imposition of

punitive damages against this Defendant in this lawsuit is therefore barred inasmuch

as the statutes allow for deprivations of property without due process of law, violate

the equal protection of the laws by providing fewer protections for civil litigants than

the criminal statutes that provide for the imposition of monetary fines, and impose

an excessive fine.


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                             EIGHTEENTH DEFENSE

      Responding to the specifically numbered paragraphs of Plaintiff’s Complaint,

this Defendant answers as follows:

                           RESPONSE TO “PARTIES”

                                           1.

      Defendant TCF can neither admit nor deny the allegations contained in

paragraph 1 of Plaintiff’s complaint for want of sufficient information to form a

belief as to the truth thereof and puts Plaintiff on strict proof of same.

                                           2.

      Defendant TCF admits that portion of the allegations of paragraph 3 of

Plaintiff’s complaint that it is a citizen of California for the purposes of federal

jurisdiction as it is incorporated under the laws of California, its principal place of

business is in California, and that it can be served in accordance with Georgia law.

To the extent the allegations contained in paragraph 2 of plaintiff’s Complaint are

inconsistent with Georgia law, they are denied.

               RESPONSE TO “JURISDICTION AND VENUE”

                                           3.

      The allegations of paragraph 3 of the Complaint call for a legal conclusion

and therefore no response is required to same.




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                                          4.

      The allegations of paragraph 4 of the Complaint call for a legal conclusion

and therefore no response is required to same.

                     RESPONDING TO “BACKGROUND”

                                          5.

      Defendant TCF reincorporates its responses to paragraphs 1-4 as if fully set

forth herein.

                                          6.

      The allegations of paragraph 6 of the Complaint call for a legal conclusion

and therefore no response is required to same. To the extent a response is required,

Defendant TCF denies the allegations contained in paragraph 6 of Plaintiff’s

complaint, including, but not limited to, all subparts contained therein.

                          RESPONDING TO “FACTS”

                                          7.

      Defendant TCF reincorporates its responses to paragraphs 1-6 as if fully set

forth herein.

                                          8.

      Defendant admits that portion of paragraph 8 of plaintiff’s Complaint that,

under Georgia law, a premises owner owes a duty of ordinary care to keep the

premises and approaches safe for an invitee. Defendant can neither admit nor deny


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the remaining allegations of Plaintiff’s Complaint for want of sufficient information

to form a belief as to the truth thereof, and places Plaintiff on strict proof of same.

                                           9.

      Defendant TCF can neither admit nor deny the allegations contained in

paragraph 9 of Plaintiff’s complaint for want of sufficient information to form a

belief as to the truth thereof and puts Plaintiff on strict proof of same.

                                          10.

      Defendant TCF can neither admit nor deny the allegations contained in

paragraph 10 of Plaintiff’s complaint for want of sufficient information to form a

belief as to the truth thereof and puts Plaintiff on strict proof of same.

                                          11.

      Defendant TCF can neither admit nor deny the allegations contained in

paragraph 11 of Plaintiff’s complaint for want of sufficient information to form a

belief as to the truth thereof and puts Plaintiff on strict proof of same.

                                          12.

      Defendant TCF denies the allegations contained in paragraph 12 of Plaintiff’s

complaint.

                                          13.

      Defendant TCF admits the allegations contained in paragraph 13 of the

complaint.


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                                          14.

      Defendant TCF denies the allegations contained in paragraph 14 of Plaintiff’s

complaint.

     RESPONDING TO COUNT I – ALLEGED PREMISES LIABILITY

                                          15.

      Defendant TCF reincorporates its responses to paragraphs 1-14 as if fully set

forth herein.

                                          16.

      Defendant TCF admits only that portion of paragraph 16 of plaintiff’s

Complaint that plaintiff accurately quoted O.C.G.A. § 51-3-1. Defendant denies the

remaining allegations contained in paragraph 16 of Plaintiff’s complaint. To the

extent the allegations contained in paragraph 16 of plaintiff’s Complaint claim TCF

is liability for the breach of any duty allegedly owed plaintiff.

                                          17.

      Defendant TCF can neither admit nor deny the allegations contained in

paragraph 17 of Plaintiff’s complaint for want of sufficient information to form a

belief as to the truth thereof and puts Plaintiff on strict proof of same.




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                                         18.

      Defendant TCF admits only that portion of paragraph 18 of plaintiff’s

complaint that any duty owed is controlled by Georgia law. Defendant TCF denies

the remaining allegations contained in paragraph 18 of Plaintiff’s complaint.

                                         19.

      Defendant TCF denies the allegations contained in paragraph 19 of Plaintiff’s

complaint, including, but not limited to, the allegations contained in all subparts.

                                         20.

      Defendant TCF denies the allegations contained in paragraph 20 of Plaintiff’s

complaint.

                                         21.

      Defendant TCF denies the allegations contained in paragraph 21 of Plaintiff’s

complaint.

                                         22.

      Defendant TCF denies the allegations contained in paragraph 22 of Plaintiff’s

complaint.

             RESPONDING TO COUNT II – ALLEGED DAMAGES

                                         23.

      Defendant TCF reincorporates its responses to paragraphs 1-22 as if fully set

forth herein.


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                                          24.

      Defendant TCF denies that Plaintiff suffered injuries as result of TCF’s

negligence. Defendant TCF can neither admit nor deny the remaining allegations

contained in paragraph 24 of Plaintiff’s complaint for want of sufficient information

to form a belief as to the truth thereof and puts Plaintiff on strict proof of same.

                                          25.

      Defendant TCF can neither admit nor deny the allegations contained in

paragraph 25 of Plaintiff’s complaint for want of sufficient information to form a

belief as to the truth thereof and puts Plaintiff on strict proof of same.

                                          26.

      Defendant TCF can neither admit nor deny the allegations contained in

paragraph 26 of Plaintiff’s complaint for want of sufficient information to form a

belief as to the truth thereof and puts Plaintiff on strict proof of same.

                                          27.

      Defendant TCF denies the allegations contained in paragraph 27 of Plaintiff’s

complaint.

    RESPONDING TO: COUNT III – ALLEGED PUNITIVE DAMAGES

                                          28.

      Defendant TCF reincorporates its responses to paragraphs 1-27 as if fully set

forth herein.


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                                       29.

      Defendant TCF denies the allegations contained in paragraph 29 of Plaintiff’s

complaint.

                                       30.

      Defendant TCF denies the allegations contained in paragraph 30 of Plaintiff’s

complaint.

                                       31.

      Defendant TCF denies the allegations contained in paragraph 31 of Plaintiff’s

complaint.

  RESPONDING TO: COUNT IV – ALLEGED NEGLIGENT TRAINING
                   and/or SUPERVISION

                                       32.

      Defendant TCF reincorporates its responses to paragraphs 1-32 as if fully set

forth herein.

                                       33.

      Defendant TCF denies the allegations contained in paragraph 33 of Plaintiff’s

complaint.

                                       34.

      Defendant TCF denies the allegations contained in paragraph 34 of Plaintiff’s

complaint.



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                                          35.

      Defendant TCF denies the allegations contained in paragraph 35 of Plaintiff’s

complaint.

                                          36.

      Responding to the “WHEREFORE” paragraph, this Defendant denies that the

Plaintiff is entitled to the relief requested as to form, content or amount.

                                          37.

      To the extent any allegation in the complaint has not been specifically

admitted it is hereby denied.

                                          38.

      This Defendant demands a jury of twelve persons on all issues so triable.

      This 11th day of May, 2021.

                                        FREEMAN MATHIS & GARY, LLP

                                        /s/ Wayne S. Melnick
                                        Wayne S. Melnick
                                        Georgia Bar No. 501267
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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day served the within and foregoing ANSWER

AND DEFENSES TO PLAINTIFF’S COMPLAINT with the Clerk of Court

using the Odyssey e-Filing System, which will automatically send e-mail notification

of such filing, to the following attorneys of record:

                                 Rita Tucker Williams
                                      Ledia Regis
                         Williams & Associates Law Firm, P.C.
                                  220 Church Street
                                  Decatur, GA 30030

       This 11th day of May, 2021.


                                        /s/ Wayne S. Melnick
                                        Wayne S. Melnick
                                        Georgia Bar No. 501267
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                                        Eric Retter
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